            If this opinion indicates that it is “FOR PUBLICATION,” it is subject to revision
                          until final publication in the Michigan Appeals Reports.




                              STATE OF MICHIGAN

                                COURT OF APPEALS


DARRELL DAVIES and NANCY DAVIES,                                     UNPUBLISHED
                                                                     August 22, 2024
               Plaintiffs-Appellants,

v                                                                    No. 365492
                                                                     Kalamazoo Circuit Court
DISTRICT CENTER BOARD OF THE MICHIGAN                                LC No. 2022-000032-NO
DISTRICT CHURCH OF THE NAZARENE, doing
business as INDIAN LAKE NAZARENE CAMP,

               Defendant-Appellee.


Before: GADOLA, C.J., and K. F. KELLY and MARIANI, JJ.

PER CURIAM.

       Plaintiffs appeal by right the trial court’s order granting summary disposition in favor of defendant
under MCR 2.116(C)(10). Finding no errors warranting reversal, we affirm.

                          I. BASIC FACTS AND PROCEDURAL HISTORY

        This case arises from a bicycle accident in which plaintiff Darrell Davies was injured when he
rode his bicycle over a speed bump on defendant District Center Board of the Michigan District Church
of the Nazarene’s camp property. On the day of the accident, Darrell and two friends rode their bicycles
from Portage, Michigan to defendant’s property in Vicksburg, Michigan. The property, known as the
Indian Lake Nazarene Camp, is a campground and “covenant community” that includes outdoor spaces
for tents and RVs, as well as homes in which residents reside as leaseholders. Defendant’s property is
private property, which Darrell knew by the fact that the sign leading to the entrance of the camp stated
so.

        Although Darrell stated he rode his bicycle through defendant’s property many times before, he
never encountered speed bumps on the roadways. However, on the date in question, the group of riders
observed two speed bumps on Victory Street in defendant’s property. The group passed over the first
speed bump without issue; however, as Darrell rode over the second speed bump, he fell off of his bicycle
and was injured. According to Darrell, the second speed bump was improperly installed because it was
not set at an angle perpendicular to the road.



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         Plaintiffs filed a three-count complaint that asserted claims of ordinary negligence, premises
liability, and loss of consortium on behalf of plaintiff Nancy Davies, Darrell’s wife. Defendant moved
for summary disposition on the grounds that the recreational land use act (“RUA”), MCL 324.73301,
barred plaintiff’s claim because that statute only permitted liability where it was shown the defendant
acted with gross negligence or willful and wonton misconduct. Defendant also argued that Darrell was
trespassing at the time he was injured and was, therefore, not owed any duties as a licensee or invitee.
Lastly, defendant argued that even if Darrell were an invitee, the open and obvious doctrine barred his
claim.

       After a hearing on defendant’s motion, the trial court agreed with defendant’s arguments and
granted summary disposition in defendant’s favor and dismissed the case. This appeal followed.

                                      II. STANDARDS OF REVIEW

        The Court reviews a trial court’s decision on a motion for summary disposition de novo. Anderson
v Transdev Servs, Inc, 341 Mich App 501, 506; 991 NW2d 230 (2022). Under MCR 2.116(C)(10),
summary disposition is proper when, “[e]xcept as to the amount of damages, there is no genuine issue as
to any material fact, and the moving party is entitled to judgment or partial judgment as a matter of law.”
“In evaluating a motion for summary disposition brought under this subsection, a trial court considers
affidavits, pleadings, depositions, admissions, and other evidence submitted by the parties, in the light
most favorable to the party opposing the motion.” Williamson v AAA of Mich, 343 Mich App 496, 502-
503; 997 NW2d 296 (2022) (quotation marks and citations omitted). “A genuine issue of material fact
exists when the record, giving the benefit of reasonable doubt to the opposing party, leaves open an issue
upon which reasonable minds might differ.” Id. at 503 (quotation marks and citation omitted).

       The Court also reviews de novo issues of statutory interpretation. Moore v Genesee Co, 337 Mich
App 723, 727; 976 NW2d 921 (2021). “If a statute is unambiguous, it must be applied as plainly written,
and we may not read any unstated provisions into the statute.” Id. at 728.

                                              III. ANALYSIS

                                        A. PREMISES LIABILITY

       Plaintiffs contend that the trial court erred when it granted defendant’s motion because their
complaint stated claims for both premises liability and ordinary negligence. Plaintiffs maintain that their
negligence claim should not have been dismissed because such a claim is viable when the defendant’s
conduct on the land causes an injury. We disagree.

        It is well established that “[c]ourts are not bound by the labels that parties attach to their claims.”
Pugno v Blue Harvest Farms, LLC, 326 Mich App 1, 13; 930 NW2d 393 (2018) (quotation marks and
citation omitted). “Instead, an action should be determined by reading the entire complaint, looking
beyond procedural labels, and determining the exact nature of the claim.” Id. The law distinguishes
between claims arising out of ordinary negligence and claims arising from a condition on the land. Id.“When the claim is based on a condition of the premises, liability arises solely from the defendant’s duty
as an owner, possessor, or occupier of land.” Id. (quotation marks and citation omitted). This is in contrast
with an ordinary negligence claim, under which “every person who engages in the performance of an
undertaking has an obligation to use due care or to act so as to not unreasonably endanger the person or
property of another.” Janke v Allen, 308 Mich App 472, 475; 865 NW2d 49 (2014).


                                                     -2-
        In Janke, the plaintiff was injured on the defendant’s property. Janke, 308 Mich App at 473. The
plaintiff fell after her foot slipped in a hole where the defendant had removed some concrete pavers. Id.This Court affirmed the trial court’s decision to grant the defendant’s motion for summary disposition on
the basis that the plaintiff’s complaint for negligence sounded in premises liability and was barred by the
open and obvious doctrine:

       Here, plaintiff’s injury occurred because of a condition on the land, the removed concrete
       pavers, rather than defendant’s conduct. While defendant may have created the condition
       on the land, that does not transform the premises liability action into one alleging ordinary
       negligence. A plaintiff cannot avoid the open and obvious danger doctrine by claiming
       ordinary negligence, when the facts only support a premises liability claim, as they do here.
       Therefore, the action sounded in premises liability and not ordinary negligence, and the
       trial court did not err by granting defendant’s motion for summary disposition because the
       open and obvious danger doctrine bars plaintiff’s claim. Moreover, the trial court did not
       err by denying plaintiff the opportunity to amend her complaint, because the proposed
       amendment was just another futile attempt to classify this case as one of general negligence
       rather than one of premises liability. [Id. at 476.]

        Plaintiffs contend that defendant’s conduct was the cause of his injuries; the conduct at issue,
however, was the manner in which defendant installed the speed bumps. In other words, as in Janke where
the removal of the paving stones only raised a premises liability claim, defendant’s conduct created the
allegedly unsafe condition on the land by installing speed bumps, and the claim therefore sounds in
premises liability. See id. This is in contrast with Laier v Kitchen, 266 Mich App 482, 495; 702 NW2d
199 (2005), in which the decedent and the defendant were repairing a tractor’s hydraulic system when the
tractor’s bucket fell and fatally injured the decedent. Laier is distinguishable from this case, however,
because in Laier, the defendant was actively controlling the tractor’s bucket and “failed to secure the
bucket in the raised position” after the decedent went underneath it. Id. A hypothetical but similar
allegation in this case would have been if an agent of defendant actively moved the speed bump as the
group was attempting to pass over it. There is no such allegation in this case, and as in Janke, the trial
court properly determined that plaintiffs’ claim sounded in premises liability.

                                              B. TRESPASS

       Next, plaintiffs argue that the trial court erred when it concluded that Darrell was trespassing at
the time of his injury. Plaintiffs assert that the “Private Property” sign at the entrance to the property had
no legal effect to warn Darrell he was not permitted to trespass and that defendant’s acquiescence in
permitting uninvited guests on the land converted Darrell’s status to that of a licensee. We disagree.

        “Licensees and invitees—in addition to trespassers—are common-law categories for persons who
enter upon the land of another.” Kelsey v Lint, 322 Mich App 364, 371; 912 NW2d 862 (2017).

       A “trespasser” is a person who enters upon another’s land, without the landowner’s
       consent. In comparison, a “licensee” is a person who is privileged to enter the land of
       another by virtue of the possessor’s consent. Consent to enter may be either express or
       implied. Permission may be implied where the owner acquiesces in the known, customary
       use of property by the public. [Id. (quotation marks and citations omitted; quotation
       cleaned up).]


                                                     -3-
        Plaintiffs’ first contention—that the absence of a “No Trespassing” sign had the effect of allowing
Darrell on the property as a licensee—is meritless. Plaintiffs cite no authority for the proposition that a
“Private Property” sign has no legal effect to warn others that trespassing is not permitted. It is not this
Court’s job to develop plaintiffs’ arguments or search for authority to support their position. See Mitcham
v Detroit, 355 Mich 182, 203; 94 NW2d 388 (1959) (“It is not sufficient for a party simply to announce a
position or assert an error and then leave it up to this Court to discover and rationalize the basis for his
claims, or unravel and elaborate for him his arguments, and then search for authority either to sustain or
reject his position.”). The argument is, therefore, abandoned. See id.
         In addition, plaintiffs presented no evidence that defendant acquiesced in permitting persons to
enter its property uninvited. While Becker testified that he often observed persons riding bicycles through
the property, he also stated that he did not inquire whether such persons were permitted to be there, since
the leaseholders were permitted to have visitors and the camp visitors were numerous. Thus, there was
no evidence that defendant acquiesced in permitting trespassers on the property for the purpose of bicycle
riding. “[R]ecovery for trespass to land . . . is available only upon proof of an unauthorized direct or
immediate intrusion of a physical, tangible object onto land over which the plaintiff has a right of exclusive
possession.” Wiggins v Burton, 291 Mich App 532, 555; 805 NW2d 517 (2011) (quotation marks and
citation omitted). “Once such an intrusion is proved, the tort has been established, and the plaintiff is
presumptively entitled to at least nominal damages.” Id. (quotation marks and citation omitted). Plaintiffs
do not reasonably contest that Darrell was “[]authorized” to “intru[de]” on defendant’s land, for which it
had “a right of exclusive possession.” See id. Accordingly, the trial court did not err when it concluded
that Darrell was trespassing and, as a trespasser, was only owed the duty to “refrain from injuring him by
willful and wanton misconduct.” See Stitt v Holland Abundant Life Fellowship, 462 Mich 591, 596; 614
NW2d 88 (2000).

                                 C. RECREATIONAL LAND USE ACT

        Lastly, plaintiffs contend that the trial court erred when it concluded that the RUA applied to their
claims. First, plaintiffs argue that the RUA is inapplicable because under Wymer v Holmes, 429 Mich 66;
412 NW2d 213 (1987), the Michigan Supreme Court held that the RUA was not intended to apply to urban
and suburban tracts. Plaintiffs also argue that the RUA does not apply because the activity in question,
bicycling, was not a recreational activity contemplated by the RUA. We disagree.

       Under the RUA, MCL 324.73301(1):

       Except as otherwise provided in this section, a cause of action shall not arise for injuries to
       a person who is on the land of another without paying to the owner, tenant, or lessee of the
       land a valuable consideration for the purpose of fishing, hunting, trapping, camping, hiking,
       sightseeing, motorcycling, snowmobiling, or any other outdoor recreational use or trail use,
       with or without permission, against the owner, tenant, or lessee of the land unless the
       injuries were caused by the gross negligence or willful and wanton misconduct of the
       owner, tenant, or lessee.

       “The RUA makes no distinction between large tracts of land and small tracts of land, undeveloped
land and developed land, vacant land and occupied land, land suitable for outdoor recreational uses and
land not suitable for outdoor recreational uses, urban or suburban land and rural land, or subdivided land
and unsubdivided land.” Neal v Wilkes, 470 Mich 661, 667; 685 NW2d 648 (2004). In other words, “[t]he


                                                     -4-
statute contains no limitation on the type of land involved, but rather applies to specified activities that
occur on the land of another . . . .” Id. at 668 (quotation marks and citation omitted).

        In addition, “the RUA does not apply to any outdoor recreational activity. Rather, it only applies
to ‘fishing, hunting, trapping, camping, hiking, sightseeing, motorcycling, snowmobiling, or any other
outdoor recreational use . . . .’ ” Id. at 669, quoting MCL 324.73301(1). “Therefore, the language ‘other
outdoor recreational use’ must be interpreted to include only those outdoor recreational uses ‘of the same
kind, class, character, or nature,’ as ‘fishing, hunting, trapping, camping, hiking, sightseeing,
motorcycling, [and] snowmobiling . . . .’ ” Id. at 669-670, quoting MCL 324.73301(1).

       Turing to plaintiffs’ first argument—that the RUA does not apply as a result of the character of
defendant’s land—the Michigan Supreme Court in Neal, 470 Mich at 665, expressly overruled Wymer’s
holding that the character of the land was a consideration when determining whether the RUA applied.
The Court explained:

        Although the Wymer Court noted that its task was to ascertain the legislative intent, it failed
        to recognize that the language of the statute is the best source for determining legislative
        intent. Instead, Wymer found it reasonable to assume that the Michigan statute has the
        similar general purpose of similar acts in other jurisdictions. That purpose being to open
        up and make available vast areas of vacant but private lands to the use of the general public
        in order to promote tourism. If that were the Legislature’s purpose, it could have used the
        words “vacant or undeveloped land of another,” rather than the words “the lands of
        another.” [Neal, 470 Mich at 665-666 (quotation marks, citations, and footnotes omitted;
        quotation cleaned up).]

        Accordingly, the trial court did not err when it concluded that the RUA applied to plaintiffs’ claims
despite the fact that defendant’s property included leasehold residences with paved streets. As the Court
in Neal emphasized, the RUA “contains no limitation on the type of land involved . . . .” Id. at 668.

        Plaintiffs also argue that bicycling is not a “recreational use” contemplated by the RUA and,
therefore, the statute does not apply to Darrell’s injuries. Plaintiffs are correct that bicycling is not
explicitly listed as an activity that is governed by the RUA. As the Supreme Court explained in Neal, the
RUA “only applies to ‘fishing, hunting, trapping, camping, hiking, sightseeing, motorcycling,
snowmobiling, or any other outdoor recreational use . . . .’ ” Id. at 669, quoting MCL 324.73301(1). Thus,
“[u]nder the statutory construction doctrine known as ejusdem generis, where a general term follows a
series of specific terms, the general term is interpreted to include only things of the same kind, class,
character, or nature as those specifically enumerated.” Neal, 470 Mich at 669 (quotation marks and
citation omitted); see also Benedict v Dep’t of Treasury, 236 Mich App 559, 564; 601 NW2d 151 (1999)
(explaining that ejusdem generis is “a rule whereby in a statute in which general words follow a
designation of particular subjects, the meaning of the general words will ordinarily be presumed to be and
construed as restricted by the particular designation and as including only those things of the same kind,
class, character or nature as those specifically enumerated.”) (quotation marks and citation omitted).

        The question is, therefore, whether bicycling is properly characterized as “any other outdoor
recreational use” as contemplated by the RUA. The statute lists motorcycling as a covered recreational
activity, and it is quite plain that bicycling is identical in character to motorcycling except for the presence




                                                      -5-
of a powered motor.1 In both activities, the person rides atop a metal frame for the purpose of
transportation, the only difference being the method of powering the wheels. Thus, the general term “any
other recreational use” includes bicycling because it is of the same “kind, class, character, or nature” as
motorcycling. See Neal, 470 Mich at 669 (quotation marks and citation omitted); see also Kalajian v
Panoff, unpublished per curiam opinion of the Court of Appeals, issued January 12, 2023 (Docket
No. 360082), p 3 (explaining that riding a bicycle was a recreational activity for purposes of applying the
reckless-misconduct standard as opposed to the ordinary negligence standard).2

        Because the RUA applies to plaintiffs’ claims, and because there was no evidence that defendant
acted with “gross negligence or willful and wanton misconduct,” MCL 324.73301(1), the trial court did
not err when it granted defendant’s motion for summary disposition.3

       Affirmed. Defendant, as the prevailing party, may tax costs. MCR 7.219(A).

                                                             /s/ Michael F. Gadola
                                                             /s/ Kirsten Frank Kelly




1
  Darrell admits, however, that his bicycle was powered by an electric motor (it was an “E-bike”). This
raises the interesting question, not necessary to our decision here, whether for purposes of the RUA
plaintiff’s mode of transportation was more akin to a motorcycle than a traditional bicycle.
2
 Unpublished decisions from this Court are not binding but may be considered for their persuasive value.
Cox v Hartman, 322 Mich App 292, 307; 911 NW2d 219 (2017), lv den 503 Mich 911 (2018).
3
  Because there is no serious contention that Darrell was an invitee at the time he was injured, and because
the Michigan Supreme Court has since overruled Lugo v Ameritech, Corp, 464 Mich 512, 516; 629 NW2d
384 (2001), when it decided Kandil-Elsayed v F &amp; E Oil, Inc, 512 Mich 95; 1 NW3d 44 (2023), we need
not address plaintiffs’ arguments concerning the open and obvious doctrine.


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